                Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 EVA WANAMAKER
 338 W. Master Street
 Philadelphia, PA 19122

                                 Plaintiff,
                   vs.
                                                        CIVIL ACTION
 EXPERIAN INFORMATION SOLUTIONS, INC.
 601 Experian Way                     NO.
 Allen, TX 75013

     and

 GINNY’S, INC.
 c/o CORPORATION SERVICE COMPANY
 8040 Excelsior Drive, Suite 400
 Madison, WI 53717-2915

                                 Defendants.


                                              COMPLAINT

I.          INTRODUCTION

           1.     This is an action for damages brought by a consumer pursuant to the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq.

           2.     The FCRA requires consumer reporting agencies to follow reasonable procedures

to assure maximum possible accuracy when reporting credit information. The consumer reporting

agency, Experian, failed to employ reasonable procedures to ensure maximum possible accuracy

of Plaintiff’s consumer report because it failed to report that certain credit accounts were

discharged in bankruptcy.

           3.     Also, a consumer report can only be obtained by one who has a permissible purpose

to do so.       By obtaining Plaintiff’s consumer report after her debt had been discharged in
             Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 2 of 8




bankruptcy, Ginny’s Inc. had no permissible purpose to pull Plaintiff’s credit report in violation

of the FCRA.

II.      JURISDICTION

        4.       Jurisdiction arises under 15 U.S.C. § 1681p, and 28 U.S.C. §§ 1331, 1337.

III.     PARTIES

        5.       Plaintiff Eva Wanamaker is a consumer who resides at the address captioned above.

        6.       Defendant Experian Information Solutions, Inc. (“Experian”) is a foreign

corporation with an office for the regular transaction of business at the captioned address.

        7.       Experian is a “consumer reporting agency” as defined in 15 U.S.C. § 1681a(f).

        8.       Experian regularly engages in the business of assembling, evaluating, and

disbursing information concerning consumers for the purpose of furnishing consumer reports to

third parties.

        9.       Experian disburses or provides such consumer reports to third parties under contract

for monetary compensation.

       10.       Defendant Ginny’s Inc. (“Ginny’s”) is a foreign corporation with an office for the

regular transaction of business at the captioned address.

IV.      STATEMENT OF CLAIM

Ms. Wanamaker’s Bankruptcy

       11.       In March 2018, Plaintiff Eva Wanamaker instituted Chapter 7 bankruptcy

proceedings in the United States Bankruptcy Court for the Eastern District of Pennsylvania, Case

No. 18-11897-JKF.

       12.       Included within Ms. Wanamaker’s bankruptcy petition was a disputed debt to

“GINNYS/SWISS COLONY INC.”




                                                  2
            Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 3 of 8




    13.        On June 22, 2018, the Bankruptcy Court entered an Order discharging Ms.

Wanamaker’s debts, including the alleged debt to Defendant Ginny’s.

    14.        By notice dated June 24, 2018, the Bankruptcy Court sent notice of the discharge

to Defendant Ginny’s.

Experian’s Reporting of the Discharged Account was Inaccurate

    15.        Plaintiff was eager to begin working on improving her credit following her

bankruptcy and obtaining a “fresh start.”

    16.        On or about May 4, 2020, Plaintiff obtained her consumer credit reports to make

sure the bankruptcy reporting was accurate.

    17.        Plaintiff discovered that her Experian report showed the Ginny’s account as having

a status of “charged off,” as of May 2017.

    18.        Experian had been reporting a “charged off” status as of May 2017 with a $0

balance in the payment history, however they also reported that $70 had been written off.

    19.        The Experian reporting of the Ginny’s account made no mention that the alleged

debt was discharged in bankruptcy.

    20.        Coincidentally, Experian was also reporting Plaintiff’s bankruptcy discharge in

May 2020.

    21.        The status of “Charge Off” (or “CO” on the Experian report) in the credit reporting

industry guidelines means that a debt may be owed.

    22.        Defendant Experian knew or had reason to know that its reporting of the Ginny’s

account was inaccurate because it was also reporting Plaintiff’s bankruptcy as discharged in May

2020 and Plaintiff’s other bankruptcy debts as discharged.




                                                3
           Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 4 of 8




    23.        None of the other consumer reporting agencies (CRAs) were inaccurately reporting

this alleged debt as owing, charged off, or anything other than discharged in bankruptcy.

    24.        Upon information and belief, Experian proactively sought out and paid for

Plaintiff’s Public Record bankruptcy information in order to post it to her credit report. The CRAs

have been conducting such inquiries via third party vendors for many years and search daily for

all U.S. consumer bankruptcy filings with the purpose of reporting them to the consumers’ credit

reports.

    25.        Defendant Experian does not maintain reasonable procedures to ensure debts that

are derogatory prior to a consumer’s bankruptcy filing definitely report that the debt was either

paid or discharged in bankruptcy as to not continue to report derogatory payment history after the

bankruptcy was filed.

    26.        Experian is reporting Plaintiff may owe a debt that she does not actually owe,

thereby damaging her credit profile.

    27.        As a result of Defendant’s conduct, Plaintiff has sustained actual damages including

but not limited to, embarrassment, anguish, and emotional and mental pain.

    28.        Defendant’s reporting is particularly aggravating of Plaintiff’s damages because

Defendant’s inaccurate reporting damaged Plaintiff’s credit, which she is attempting to rebuild

after bankruptcy.

    29.        This caused Plaintiff stress and anxiety about her credit reputation and a belief that

she may still owe a debt she no longer owes.

    30.        Under the FCRA, a consumer reporting agency like Experian must establish and

follow reasonable procedures to assure maximum possible accuracy of the information in its credit

reports. 15 U.S.C. § 1681e(b)




                                                 4
            Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 5 of 8




    31.        Experian willfully and/or negligently failed to do that here when it caused an

inaccurate trade line to appear on Plaintiff’s credit report.

    32.        Experian continued to report inaccurate information, available to any potential

credit grantor who accessed Plaintiff’s credit report.

    33.        As a result of Defendant’s willful, wanton, reckless, and/or negligent conduct,

Plaintiff has been damaged.

    34.        As a result of the false and derogatory information reported by Defendant, Plaintiff

has been damaged.

    35.        Plaintiff has suffered emotional distress, worry, humiliation, and embarrassment as

a result of Defendant’s actions.

Ginny’s Impermissibly Accessed Plaintiff’s Credit Report after Discharge

    36.        The May 4, 2020 Experian credit report also indicated that Ginny’s, listed on the

report as “Colony” accessed Ms. Wanamaker’s consumer credit report on October 5, 2019.

    37.        Despite the discharge of the Ginny’s account, and thus Ms. Wanamaker no longer

having a credit relationship with Ginny’s, the creditor obtained her consumer report.

    38.        Pursuant to 15 U.S.C. § 1681b, a consumer report can be obtained only for the

specific purposes stated thereunder, including for use in connection with a credit transaction that

the consumer initiated, an account review, a firm credit offer, employment purposes, or a business

transaction in which an individual has accepted personal liability for business credit.

    39.        After the bankruptcy discharge, there was no longer any Ginny’s account to review.

    40.        Ginny’s had no permissible purpose to obtain Ms. Wanamaker’s consumer report

on October 5, 2019.




                                                   5
                Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 6 of 8




       41.         As a result of Ginny’s willful, wanton, reckless, and/or negligent action, Plaintiff

has been damaged.

       42.         On information and belief, Ginny’s has a pattern and practice regularly obtains

consumer reports on consumers without a permissible purpose.

       43.         Plaintiff’s privacy has been invaded as a result of the willful, wanton, reckless

and/or negligent conduct of Defendant.

       44.         Plaintiff has suffered mental and emotional distress, worry, and aggravation as a

result of Ginny’s actions.

                                             COUNT I
                                     FAIR CREDIT REPORTING ACT
                                    (Eva Wanamaker v. Experian)

       45.         Plaintiff repeats the allegations contained above as if the same were here set forth

at length.

       46.         Experian willfully, and/or negligently violated the FCRA by failing, in the

preparation of the consumer reports concerning Plaintiff, to establish or follow reasonable

procedures to assure maximum possible accuracy of the information in the reports. 15 U.S.C. §

1681e(b).

             WHEREFORE, Plaintiff Eva Wanamaker demands judgment against Defendant Experian

for:

                   (a) Actual and compensatory damages;

                   (b) Punitive damages;

                   (c) Attorney’s fees and costs;

                   (d) A declaration that Defendant’s reporting is inaccurate; and

                   (e) Such other and further relief as the Court shall deem just and proper.




                                                    6
             Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 7 of 8




                                         COUNT II
                                 FAIR CREDIT REPORTING ACT
                                 (Eva Wanamaker v. Ginny’s)

    47.        Plaintiff repeats the allegations contained above as if the same were here set forth

at length.

    48.        Ginny’s violated the Fair Credit Reporting Act by willfully and/or negligently

obtaining Plaintiff’s consumer credit report without a statutorily permissible purpose or upon false

pretenses. 15 U.S.C. § 1681b, 1681q; 1681n and §1681o.

        WHEREFORE, Plaintiff Eva Wanamaker demands judgment against Defendant

Ginny’s for:

               (a)     Actual and compensatory damages;

               (b)     Punitive damages;

               (c)     A declaration that the conduct complained of violates the provisions of the

               Fair Credit Reporting Act, 15 U.S.C. § 1681b;

               (d)     Return of his credit information and deletion of the inquiry;

               (e)     Attorney’s fees and costs; and

               (f)     Such other and further relief as the Court shall deem just and proper.




                                                 7
          Case 2:21-cv-00350-JD Document 1 Filed 01/26/21 Page 8 of 8




V.    DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury as to all issues so triable.

                                                      Respectfully submitted:



Date: January 25, 2021                                 /s/Andrew M. Milz
                                                      CARY L. FLITTER
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